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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF GEORGIA
                                     ALBANY DIVISION

MARK D. WEISSMAN, et al.,                                 :
                                                          :
             Plaintiffs,                                  :
                                                          :        CASE NO.: 1:17-CV-220(WLS)
v.                                                        :
                                                          :
MICHAEL CHEOKAS,                                          :
                                                          :
             Defendant.                                   :
                                                          :

                                                    ORDER
           Pending before the Court is Defendant Michael Cheokas’ Motion for Limited
Extension of Discovery and Other Applicable Deadlines. (Doc. 52.) Plaintiffs oppose the
motion. (Doc. 54.) The Court again notes that actual trial dates will be known when the Parties
receive the Notice of Pretrial Conference. (Doc. 35.) In the instant Motion, Cheokas requests
an extension of twenty-one (21) days from the Court’s order on his Motion. (Doc. 52.) Since
the Court’s prior extension of discovery, counsel for Cheokas has taken two depositions and
defended against another. (Id.) The Parties have jointly consented to reschedule two
depositions—not at issue—past the Court’s current discovery deadline. (Id. at 6.) Counsel for
Cheokas requests additional time to allow recently retained experts to provide written reports
and be available for depositions. (Id. at 6.)
           The Court previously entered discovery and scheduling orders in this case. (Docs. 35,
37, 39, 48.) For good cause shown, the Court hereby GRANTS Defendant Cheokas’ Motion
for Limited Extension of Discovery and Other Applicable Deadlines (Doc. 52). Discovery is
extended approximately twenty-one days 1 from the date of this Order. The Court’s prior
discovery and scheduling orders (Docs. 35, 37, 39, 48) are amended as follows:
      • (2)        Fact discovery must be completed by Friday, August 28, 2020 unless extended
           by the Court for good cause shown upon timely written motion by either party.


1   All extended deadlines are scheduled for the next available business day.

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   • (4)      Unless discovery is extended by order of the Court, all dispositive motions must
       be filed no later than Monday, September 28, 2020. In the event that discovery is
       extended, all dispositive motions must be filed no later than thirty (30) days after the
       close of discovery.
   • (6)      If necessary, each party must serve upon other parties disclosures relating to
       expert witnesses, as required by Rule 26(a)(2)(A)–(B) of the Federal Rules of Civil
       Procedure, by the following dates: All expert discovery— Friday, August 28, 2020.
   • (7)      Any motion challenging the qualification(s) of any expert witness to offer
       opinion testimony, raised under Daubert or Rules 104(a), 702, and 703 of the Federal
       Rules of Evidence, must be filed no later than:
                  (i) Monday, September 28, 2020, if the motion is filed by a party in
                     connection with the party’s dispositive motion. However, in the event
                     discovery is extended, all such motions must be filed no later than thirty
                     (30) days after the close of discovery;
                  (ii) Monday, October 19, 2020, if the motion is made by a party in response
                     to a dispositive motion. However, in the event discovery is extended, the
                     motion must be filed no later than twenty-one days after the dispositive
                     motion deadline; or
                  (iii) fourteen days after notice of the pretrial conference is entered, if
                     the motion relates to a trial witness or issue and if necessary the motion
                     will be heard at the pretrial conference.
       All other deadlines shall remain unless otherwise ordered by the Court. The Parties are
noticed that no further extensions will be granted except to prevent manifest injustice upon
timely written motion for good cause shown upon grounds not reasonably foreseeable or
avoidable by the moving Party or Parties.


       SO ORDERED, this 7th day of August, 2020.

                                            /s/ W. Louis Sands
                                            W. LOUIS SANDS, SR. JUDGE
                                            UNITED STATES DISTRICT COURT

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